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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 GONZALO GUISBERT,

                 Plaintiff,

         v.                                                 Civil Action No.: 19-02838-TSC

 WASHINGTON CONVENTION AND
 SPORTS AUTHORITY t/a EVENTS DC,

                 Defendant.


                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 7(h), Defendant

Washington Convention and Sports Authority t/a Events DC hereby moves this Court for

summary judgment on each of Plaintiff Gonzalo Guisbert’s claims. For the reasons set forth in

the accompanying Memorandum of Law, Statement of Undisputed Material Facts, and exhibits

thereto, there are no triable issues of fact in this case and Plaintiff’s claims fail as a matter of law.

Accordingly, Events DC respectfully requests that the Court grant summary judgment in its favor

and dismiss Plaintiff’s claims in their entirety with prejudice.


Dated: July 15, 2021                            Respectfully submitted,
                                                s/ Jocelyn R. Cuttino
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                              CERTIFICATE OF SERVICE

       I certify that the foregoing Motion for Summary Judgment and all supporting documents

were served via the Court’s CM/ECF system on all counsel of record.

                                                                         s/ Jocelyn R. Cuttino




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